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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




 VALLEY CHABAD, INC. and RABBI
 DOV DRIZIN,

                          Plaintiffs,
                                                 Civil No. 2:16-cv-08087-KSH-JAD
 v.

 BOROUGH OF WOODCLIFF LAKE,
 N.J., ZONING BOARD OF
 ADJUSTMENT OF THE BOROUGH OF
 WOODCLIFF LAKE, N.J., et al.

                          Defendants.



                              DECLARATION OF ROBIN N. PICK

 Robin N. Pick declares as follows, pursuant to 28 U.S.C. § 1746:

      1.    I am an associate attorney with Storzer & Associates, P.C., attorneys for the Plaintiff

            and make this declaration in that capacity.

      2.    Plaintiffs’ counsel has attempted to confer with Defendants in a good faith effort to

            resolve by agreement the issues raised by the motion to compel without the intervention

            of the Court.

      3.    The parties have been unable to reach agreement.

      4.    The date and method of communication used in attempting to reach an agreement was

            as follows:

               On August 3, 2019: Letter from Sieglinde Rath to Eric Harrison;

               September 7, 2019: Email from Robin Pick to Brent Pohlman;
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             December 13, 2019: Email from Robin Pick to Brent Pohlman; and

             May 20, 2019: Letter from Robin Pick to Brent Pohlman and Eric Harrison.

    5.    Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ Interrogatories

          served on Defendant Zoning Board of Adjustment of the Borough of Woodcliff Lake

          (“Board”).

    6.    Attached hereto as Exhibit B is a true and correct copy of Plaintiffs’ Interrogatories

          served on Defendant Borough of Woodcliff Lake (“Borough”).

    7.    Attached hereto as Exhibit C is a true and correct copy of Plaintiffs’ Interrogatories

          served on Defendant Carlos Rendo.

    8.    Attached hereto as Exhibit D is a true and correct copy of Requests for Production of

          Documents served on the Board.

    9.    Attached hereto as Exhibit E is a true and correct copy of Requests for Production of

          Documents served on the Borough.

    10.   Attached hereto as Exhibit F is a true and correct copy of Requests for Production of

          Documents served on Rendo.

    11.   Attached hereto as Exhibit G is a true and correct copy of a Consent Order Extending

          Discovery, dated November 8, 2017.

    12.   Attached hereto as Exhibit H is a true and correct copy of a letter from Howard

          Mankoff to Sieglinde Rath dated February 23, 2018.

    13.   Attached hereto as Exhibit I is a true and correct copy of the Board’s Answers to

          Interrogatories.

    14.   Attached hereto as Exhibit J is a true and correct copy of the Board’s Responses and

          Objections to Plaintiffs’ Requests for Production of Documents.
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    15.   Attached hereto as Exhibit K is a true and correct copy of the Borough’s Answers to

          Interrogatories.

    16.   Attached hereto as Exhibit L is a true and correct copy of Mayor Rendo’s Answers to

          Interrogatories.

    17.   Attached hereto as Exhibit M is a true and correct copy of a letter from Sieglinde Rath

          to Howard Mankoff dated May 2, 2018.

    18.   Attached hereto as Exhibit N is a true and correct copy of a letter from Sieglinde Rath

          to the Court dated May 11, 2018.

    19.   Attached hereto as Exhibit O is a true and correct copy of a letter from Sieglinde Rath

          to Eric Harrison dated August 3, 2018.

    20.   Attached hereto as Exhibit P is a true and correct copy of an email from Robin Pick

          to Brent Pohlman dated September 7, 2018.

    21.   Attached hereto as Exhibit Q is a true and correct copy of an email from Brent Pohlman

          to Robin Pick dated September 13, 2018.

    22.   Attached hereto as Exhibit R is a true and correct copy of Supplemental Requests for

          Production of Documents on Defendant Borough.

    23.   Attached hereto as Exhibit S is a true and correct copy of Supplemental Requests for

          Production of Documents on Defendant Board.

    24.   Attached hereto as Exhibit T is a true and correct copy of Supplemental Requests for

          Production of Documents on Defendant Rendo.

    25.   Attached hereto as Exhibit U is a true and correct copy of Supplemental Requests for

          Production of Documents on Defendant Bechtel.
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    26.   Attached hereto as Exhibit V is a true and correct copy of an email from Robin Pick to

          Brent Pohlman dated December 13, 2018.

    27.   Attached hereto as Exhibit W is a true and correct copy of an email from Robin Pick

          to Brent Pohlman, Eric Harrison, Henry Klingeman and Helen Nau dated November

          21, 2018.

    28.   Attached hereto as Exhibit X is a true and correct copy of the list of custodians attached

          to the email in Exhibit W.

    29.   Attached hereto as Exhibit Y is a true and correct copy of the list of search terms

          attached to the email in Exhibit W.

    30.   Attached hereto as Exhibit Z is a true and correct copy of an email from Brent Pohlman

          dated January 4, 2019.

    31.   Attached hereto as Exhibit AA is a true and correct copy of a letter sent by Robin Pick

          to Brent Pohlman and Eric Harrison dated May 20, 2019.

    32.   Attached hereto as Exhibit BB is a true and correct copy of twenty-one documents

          from Defendants’ document production, produced on March 29, 2019.

    33.   Attached hereto as Exhibit CC is a true and correct copy of Certifications sent by Helen

          Nau to Michael Campion and Susan Millenky on May 21, 2019.

    34.   On October 2, 2017, Plaintiffs served their responses to Defendants’ Interrogatories.

    35.   On March 16, 2018, Plaintiffs served their Objections and Responses to Defendants’

          Request for Production of Documents as well as supplemental responses to Defendants’

          Interrogatories.
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    36.     Defendants’ June 27, 2018 production did not include, inter alia, native files, metadata,

            a load file, as well as any information indicating from which custodians the documents

            were collected.

 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on June 7, 2019



                                                       _____________________________
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